                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

JONATHAN BERTUCCELLI, and                         CIVIL CASE NO. 2:19-CV-1304
STUDIO 3, INC

VERSUS                                            JUDGE:_______________________________

UNIVERSAL CITY STUDIOS LLC;                       MAGISTRATE:________________________
UNIVERSAL CITY STUDIOS
     PRODUCTIONS LLLP;                            JURY TRIAL REQUESTED
BLUMHOUSE PRODUCTIONS, LLC;
TREE FALLS IN THE WOODS, L.L.C.; and
JOHN AND JANE DOES 1 – 50,




                    COMPLAINT FOR COPYRIGHT INFRINGEMENT

       NOW INTO COURT, through undersigned counsel, comes the Plaintiffs, Jonathan

Bertuccelli and Studio 3, Inc. (collectively “Bertuccelli”), and for their complaint against

Defendants, Universal City Studios LLC, Universal City Studios Productions LLLP,

Blumhouse Productions, LLC, Tree Falls in the Woods, L.L.C. (at times collectively referred

to as “Universal”) and John and Jane Does 1-50, aver as follows:

                                NATURE OF THE ACTION

   1. This is a civil action for injunctive relief, statutory and other damages, costs and

attorneys’ fees arising from violations premised on the Copyright Act, 17 U.S.C. § 101 et seq.

Jonathan Bertuccelli originally created the eye-popping expressionist art known as “King

Cake Baby” (“KCB”). Since KCB’s creation in 2009, it has entertained, scared and fascinated

sports fans, under its permitted use as a walking head mascot for the New Orleans Pelicans.

KCB’s iconic blend of sinister, happy and awkward childish delirium has captured audiences

around the United States and drove commentary across the media spectrum.


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   2. In the midst of KCB’s national popularity, KCB and all of KCB’s unique artistic

elements were unlawfully used as the central masked villainous killer in the feature film

Happy Death Day, and continues in the upcoming sequel, Happy Death Day 2U (at times

collectively referred to as “HDD”). The “HDD” masked character and KCB are virtually

identical in a side-by-side comparison; and in both “HDD” films the character is used to

portray a range of emotional and mental cues that derive from KCB’s intended design.

   3. Unfortunately, the owners, producers, and creators of Happy Death Day and Happy

Death Day 2U did not seek the permission of Bertuccelli for copying KCB. They did not give

Bertuccelli credit; or compensate Bertuccelli for his work even though they have continued

to enjoy significant financial gain from KCB’s use.

   4. Bertuccelli is the original creator of KCB (U.S. Copyright Reg. No. VAu 1-292-638)

and its unique “creepy yet fun”” image. (See “Exhibit 1.”) This action seeks to protect his

intellectual property rights and secure his fair share of the financial benefit that KCB is

generating for others.

                                         PARTIES

   5. Jonathan Bertuccelli is a resident of the State of Louisiana, and the majority owner

and President of Studio 3, Inc., a Louisiana corporation.

   6. Studio 3, Inc. is a Louisiana corporation that maintains its principal place of business

at 1416 Brooklyn Avenue, New Orleans, Louisiana 70114.

   7. On information and belief, Universal City Studios LLC is a Delaware limited liability

company that maintains its principal offices at 100 Universal City Plaza in Universal City,

California 91608. On information and belief, it has designated Enterprise Corporate Services

LLC, 1201 N. Market Street, Suite 1000, Wilmington, Delaware 19801, as its agent for

service of process.



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   8. On information and belief, Defendant Universal City Studios Productions LLLP is a

Delaware limited liability limited partnership that maintains its principal offices at 100

Universal City Plaza in Universal City, California 91608. On information and belief, it has

designated Enterprise Corporate Services LLC, 1201 N. Market Street, Suite 1000,

Wilmington, Delaware 19801, and The Corporation Trust Company, Corporation Trust

Center, 1209 Orange Street, Wilmington, Delaware 19801, as its agent for service of process.

   9. On information and belief, Defendant Blumhouse Productions, LLC is a Delaware

limited liability company that maintains its principal offices at 2401 Beverly Boulevard in

Los Angeles, California 90057.    On information and belief, it has designated Paracorp

Incorporated, 2140 S. Dupont Hwy., Camden, Delaware 19934, as its agent for service of

process.

   10. On information and belief, Defendant Tree Falls in the Woods, L.L.C. is a Louisiana

limited liability company that maintains its principal offices at 2401 Beverly Boulevard in

Los Angeles, California 90057. On information and belief, it has designated Corporation

Service Company, 501 Louisiana Avenue, Baton Rouge, Louisiana 70802, as its agent for

service of process.

   11. John and Jane Does 1-50 are currently unknown domestic or foreign individuals

and/or entities that have a financial interest in the Happy Death Day and/or Happy Death

Day 2U films; who have or will receive disbursements of proceeds from the money generated

by those films, associate merchandise, license and any other income generated from any other

source related to these films; and/or are responsible for the accounting and distribution of

revenue to holders of both “equity” and “artistic” ownership percentages. Additionally, other

unknown John and Jane Doe defendants are believed to include buyers of foreign or domestic

rights of distribution, and who may have acquired an equity interest in the proceeds derived

from these films within certain markets.

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                               JURISDICTION AND VENUE

   12. Jurisdiction of these claims before this Honorable Court is based upon a federal

question, specifically the Copyright Act, 17 U.S.C. § 101 et seq.

   13. Both subject films were made on location in New Orleans, Louisiana and both films

have or will be shown in New Orleans, Louisiana. Accordingly, the venue of these claims is

proper in accordance with 28 U.S.C. §1391.

                                           FACTS

                                  Background of Bertuccelli

   14. For over 35 years, Bertuccelli’s work in creating expressive display art sculptures and

parade floats has been enjoyed by audiences across the United States and in numerous

countries around the world. He routinely employs a medieval, Franco-Italian style which is

instantly recognizable for its ability to convey immediate visual sensations. Bertuccelli’s

creations range from grandiose; such as the Butterfly King float displayed during the New

Orleans Mardi Gras parade season; quaint, such as “Tom, The Turkey,” the beloved

centerpiece of the Houston Texas Thanksgiving parade; to whimsical, like the “walking

heads” that have entertained countless admirers over the years. Bertuccelli’s work has

included commissions by major film studios, casinos, municipalities, and sports leagues.




                                              4
                      The Creation and Celebrity of King Cake Baby

   15. In 2009, Bertuccelli agreed to make three “walking head mascots” for the New Orleans

Hornets basketball team (now the New Orleans Pelicans) based on New Orleans Mardi Gras

themes; and in the process he began drawing a concept based on the tradition of placing a

small plastic baby figure into carnival season pastries known as “king cakes.” It was then

that King Cake Baby (“KCB”) was conceived. Bertuccelli’s first sketches show:




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   16. From here, Bertuccelli began refining the facial characteristics to take his concept and

make it a piece of dramatic expressive art. The work involved the long process of creating a

soft clay sculpture that would be used for final molding. Then, a variety of tools were used

to shape and refine KCB’s unique dramatic features.




   17. In the process of creating proportionality, Bertuccelli designed in special elements to

KCB’s physical characteristics to project both conflicting emotion in KCB’s appearance and

to induce conflicting reaction to KCB. Upon finishing the clay sculpture, the final hard

fiberglass mold for the fabrication of the KCB copy to be licensed to the New Orleans Hornets

was created.


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   18. Continuing the process, Bertuccelli took an impression from the hard mold and began

to flush out his creation by creating unique tone, color and texture elements, all of which

brought to life the iconic “creepy fun” animation that would define the rapid success of KCB.




   19. In the Spring of 2010, KCB was introduced as a mascot for the Hornets, and

immediately connected with audiences exactly as it was intended by the artist; evoking

enjoyment, fear, curiosity, love and even hatred. KCB has continuously made public

appearances at NBA events, throughout the city of New Orleans, and national television

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networks including TNT, ESPN, NBC, NBA Network, and USA Today. KCB has appeared

on Jimmy Kimmel Live, Inside the NBA, and the coverage of the 2017 NBA All-Star Game.

KCB has been the subject of numerous articles and news segments published on the internet,

in newspapers, and on television. To be certain, prior to the making of the Happy Death Day

films, KCB was a well known, nationally published image.

   20. Demonstrating the market value and penetration of its unique appearance, KCB has

earned a devoted fan base. While hundreds of examples can be cited, two can demonstrate

the range of the following:

       a.   In 2014, the artist known as “Flea” (a/k/a Michael Peter Balzary), the world

            renowned bassist and member of the rock band Red Hot Chili Peppers, tweeted,


            dear new orleans, the king cake baby is the greatest thing to ever
            happen to the nba.
            — Flea (@flea333) February 25, 2014


See “Exhibit 2.”


       b. On February 10, 2015, the article “The Pelicans’ King Cake Baby: Huge, Creepy
            and Born of Storied Carnival Traditions” was published by www.wwno.org. (See
            “Exhibit 2.”) In that article, author Jason Saul interviewed Bertuccelli regarding
            the celebrity of KCB and the inspiration, creation, and genesis of KCB. The
            “creepy fun” created by KCB’s appearance was described:


            But over the past couple of years the Pelicans may be better known for their new
            mascots (and their remembered ones) than for the ballgame being played between
            the TV timeouts.
            Enter King Cake Baby. A Carnival tradition at Hornets, and now Pelicans, games,
            KCB emerges from his lair to perform scooter races with the Jester and the King. The




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           crowd loves it. Sportswriters have been known to place bets on the races. Twitter
           explodes with hilarity and revulsion every time he makes an appearance.


           Horrifying in aspect and cumbersome in motion, King Cake Baby has become more
           than a Carnival tradition at basketball games. He's a de facto mini-celebrity,
           popping up at smoothie shops and television stations, another smart Pelicans
           marketing effort.
See “Exhibit 2” (Emphasis added).


   Creation and Production of Happy Death Day and Happy Death Day 2U

   21. On or about September 19, 2016 (six years after KCB had reached celebrity status for

its creepy, wacky, whimsical appearance and notoriety) the Defendants began to create the

film Happy Death Day. (See “Exhibit 3”.) Happy Death Day is a horror movie set in Louisiana

and billed as a “rewinding thriller” which features a college student who relives the day of

her murder by always encountering the same masked killer. The masked killer, the feature

element of the film, is a virtually identical copy of KCB.

   22. Based on information and belief, Happy Death Day began filming on location in New

Orleans, Louisiana, using the campus of Loyola University on or about November 7, 2016.

   23. Based on information and belief, the upcoming sequel Happy Death Day 2U, was

filmed primarily on location in New Orleans, Louisiana and again used the campus of Loyola

University.

   24. The killer character in both Happy Death Day and Happy Death Day 2U wears a

mask that is identical to the look and visual aspects of KCB. A side by side comparison

reveals:




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   25. On or about October 7, 2017, while doing promotion for Happy Death Day, Director

Christopher Landon commented on the take away impression of “Death Day Baby” mask,

demonstrating that it was conveying the same reaction as KCB. Specifically, Mr. Landon

claims,

   Q: What was the process of coming up with that mask, the Happy Death Day Killer

   mask, how did you come up with that?

   CL: So I was looking for something that was organic that would fit as a mascot on a

   college campus…but I also wanted it to be … it had to function … it had to be scary,

   a little off, a little weird, a little funny…in its own way…

October. 7, 2017, Interview

www.collider.com/happy-death-day-jason-blum-christopher-b-landon-interview/




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   26. The same “scary,” “creepy,” “weird,” and “funny” visual attributes created by KCB

were copied to create the Happy Death Day mask. On information and belief, the fabrication

of the masks and other baby images used throughout Happy Death Day and Happy Death

Day 2U, were done by the Defendants with full knowledge of, and access to, KCB. On

information and belief, Defendants were informed that Bertuccelli retained the copyright for

KCB, yet the Defendants ignored Bertuccelli’s rights and copied KCB for their own purposes,

attempting to make slight variations solely for the purpose of concealing the work’s true

origin.

   27. On or about October 13, 2017, Happy Death Day was widely release in movie theaters

across the United States.     Based on information and belief, Happy Death Day was a

blockbuster film generating at least $125 Million in gross ticket sales.

   28. On or about February 13, 2019, Happy Death Day 2U is slated for wide release in

theaters across the United States. Happy Death Day 2U continues to use the Happy Death

Day mask as used in the first film.

   Side-By-Side Comparison Shows that KCB was copied for Happy Death Day.

   29. A side-by-side comparison of KCB and Happy Death Day mask clearly shows that the

visual attributes and aspects which have made KCB a celebrity mascot were copied and so

substantially similar that the two are seen to be the same.




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   30. Further, side-by-side comparison of a summary of design aspects demonstrates that

KCB was copied by Happy Death Day.


                    KCB                              HAPPY DEATH DAY Mask
    Walking Head / Mascot                      Mascot for fictitious Bayfield University

    Blue Eyes                                  Blue Eyes

    High arced orbits above pupil              High arced orbits above pupil

    Blushed cheeks                             Blushed cheeks

    Open mouth showing teeth                   Open mouth showing tooth

    Large baby type cheeks paired with an Large baby type cheeks paired with an
    adult type double chin                adult type double chin

    Creepy, Funny                              Scary, Funny




                                          16
   The “ordinary observer” sees KCB and the Happy Death Day mask as the same.

   31. Immediately upon the start of promotion for Happy Death Day in 2017, members of

the public recognized that the Happy Death Day mask was a copy of KCB: (See Cumulative

“Exhibit 4.”)

           a. June 15, 2017 – Twitter




           b. June 18, 2017 – Twitter




                                         17
c. September 13, 2017 – Tigerdroppings Blog

   CONGRATS TO KING CAKE BABY FOR HIS FIRST ROLE IN A MOVIE!

      (www.tigerdroppings.com/rant/new-orleans-pelicans/congrats-to-king-
      cake-baby-for-his-first-role-in-a-movie/72142852.) See “Exhibit 5.”

d. September 19, 2017 – Twitter




e. September 29, 2017 – Twitter




                                  18
f.   October 12, 2017, 9:05 am – Twitter




g. October 12, 2017, 10:52 AM – Twitter




                                  19
h. October 12, 2017, 11:47 AM – Twitter




i.   October 12, 2017, 12:44 PM -- Twitter




                                   20
j.   October 12, 2017, 2:11 PM – Twitter




k. October 12, 2017, 3:57 PM – Twitter




                                  21
l.   October 19, 2017 – Twitter




m. October 2017 – Reddit

     THE KILLER FROM HAPPY DEATH DAY LOOKS AWFUL FAMILIAR

        www.reddit.com/NewOrleans/comments/75u311/the_killer_from_happy_d
        eath_day_looks_awful/

     (See “Exhibit 6.”)




                                  22
          n. October 15, 2018 – Twitter




   32. The officially managed KCB Twitter account had to publicly deny that KCB was

actually cast or licensed as the Happy Death Day mask. In response to the Twitter messages

above, KCB’s account stated:




See “Cum. Exhibit 4.”



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   33. On October 27, 2018, Sports website, Belly Up Sports compared KCB to the Happy

Death Day mask and found KCB to be one of “5 Terrifying Mascots Compared to Horror

Movies: Halloween Special.” (See “Exhibit 7.”)

   34. With the approach of the release of Happy Death Day 2U, the public observer

continues to recognize that KCB and the Happy Death Day mask are identical (See “Cum.

Exhibit 8”):

           a. January 21, 2019 –Twitter




           b. January 22, 2019 – Twitter




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c. February 3, 2019 – Twitter




d. February 4, 2019 – Twitter




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          e. February 10, 2019 – Twitter




   35. Based on readily available information, the ordinary observer overlooks any

differences between KCB and Happy Death Day mask, providing prima facie evidence that

Defendants copied KCB for their own use without authorization or license to do so.

   36. Happy Death Day makes pervasive use of the copies of KCB’s imagery. Specifically,

the image of KCB can be seen at the following approximate times from the beginning of the

Happy Death Day film:

       01:33 to 01:45 – Banner

       07:13 –Mascot merchandise. Mask, cutout, sweatshirts, cups, water bottles

       01:16 –Banner

       11:28 –Masks

       11:34 –Killer appearance

       12:50—Killer appearance

       13:15 –Killer appearance

       14:08 –Killer appearance

       14:11 –Killer appearance

                                            26
14:37 –Banner

15:31 –Banner

15:35 –Sticker

19:32 –Masks other merchandise

23:08 –Masks

23:17 –Killer appearance

24:51 –Killer appearance

26:30 –Banner

26:36 –Banner

27:10 –Banner

27:27 –Killer appearance

27:32 –Killer appearance

27:36 –Killer appearance

27:42 –Killer appearance

27:45 –Killer appearance

28:32 –Killer appearance

28:54 to 29:39 –Killer appearance

29:43 –Banner

29:52 –Banner

34:55 –Birthday card

37:26 to 37:50–Killer appearance

37:46 –Killer appearance

38:09 –Banner



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42:36 –Killer appearance

42:12 –Killer appearance

44:39 –Killer appearance

45:14 –Banner

46:24 –Killer appearance

49:55 –Mask

50:50 to 53:06 –Killer appearance

53:06 to 53:08 –Killer appearance

55:45 to 57:28 –Killer appearance

56:13 –Killer appearance

56:26 –Killer appearance

57:43 –Banner

58:36 –Banner

58:56 –Banner

58:58 to 59:03 –Sticker

1:04:50 to 1:05:26 –Killer appearance

1:07:56 –Banner

1:08:22 –Banner

1:21:56 –Banner

1:23:41 –Mask

1:23:44 –Mask

1:23:50–Mask

1:29:30 –Banner



                                        28
       1:30:19 –Sticker

       1:30:33 –Credits

       1:30:36 –Credits

       1:30:42 –Credits

       1:30:59. –Credits

       1:31:08 —Credits

       1:31:19 —Credits

       1:31:26 —Credits

       1:31:29 —Credits

   37. Bertuccelli is the owner of all rights, title and interest in and to KCB sculptural work

and has maintained ownership in those rights since creating the sculpture.

   38. The KCB work is currently protected under the laws of copyright and registered with

the United States Copyright Office as “King Cake Baby,” Registration No.VAu 1-292-638. See

“Exhibit 1.” It is not part of the public domain. Bertuccelli has not dedicated it to the public.

Bertuccelli has never assigned, licensed or otherwise transferred the copyright in KCB to the

Defendants.

   39. Prior to its pervasive use in Happy Death Day and Happy Death Day 2U, none of the

Universal Defendants or their agents sought or obtained permission from Bertuccelli to copy,

reproduce, create derivative works from, or distribute the plaintiffs’ copyrighted works.

   40. Defendants’ use of the KCB copyright does not constitute any of the generally accepted

forms of use under the Fair Use Doctrine.

   41. Defendants continue to infringe the KCB copyright via the various mediums of

exhibition and distribution of Happy Death Day, as well as the upcoming of a sequel, Happy

Death Day 2U.


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   42. Defendants’ conduct has caused, and continues to cause, irreparable harm to

Bertuccelli.

   43. On information and belief, from June 26, 2017, Universal was the copyright claimant

and employer for hire author for the Happy Death Day - Teaser One-Sheet, the “movie

poster,” which is believed to contain infringing content. See “Exhibit 9.” Universal appears

to have assigned that interest or some other interest relating to Happy Death Day to

Universal Productions on August 18, 2017. See “Exhibit 10.”

   44. On information and belief, Universal Productions is the copyright claimant for the

Happy Death Day motion picture, preregistered on September 9, 2017 and registered on

October 17, 2017. Proof of this is annexed hereto as “Exhibit 3.”

   45. On information and belief, Blumhouse operates as an independent film production

company and acted as the production company for Happy Death Day and Happy Death Day

2U, the films which infringe Bertuccelli’s copyrights.

   46. On information and belief, Tree Falls in the Woods LLC is a subsidiary and/or “loan

out company” as that term is used in the film and entertainment industry. It is registered

with the United State Copyright Office as the author of the Happy Death Day motion picture.

See “Exhibit 11.”

                                   CAUSES OF ACTION

                                         COUNT 1:

          COPYRIGHT INFRINGEMENT BY UNIVERSAL CITY STUDIOS, LLC

   47. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 to 46.

   48. The KCB is an original work of authorship and copyrightable as a sculptural work

under the laws of the United States and has been published in conformity with the Copyright

Act and all laws government copyright.


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   49. Plaintiffs never assigned, licensed or otherwise transferred the copyrights in the KCB

to Universal.

   50. By the actions alleged above, Universal has willfully infringed, directly and/or

vicariously, and will continue to willfully infringe the KCB, without permission, in disregard

for and with indifference to Plaintiffs’ rights, by creating Happy Death Day, its derivate

properties, and currently producing its sequel, Happy Death Day 2U, as well as all

merchandise and other goods and services for sale based on the Happy Death Day property

and franchise.

   51. Plaintiffs are entitled to an injunction restraining the continuous Copyright Act

violations of Universal, its agents and employees, and all persons acting in concert or

participation with them.

   52. As a direct and proximate result of Universal’s actions alleged above, Plaintiffs have

been injured and are entitled to the actual damages they suffered and to profits derived by

Universal as a result of its infringing conduct pursuant to 17 U.S.C. § 504(b).

   53. Alternatively, as a direct and proximate result of Universal’s actions alleged above,

Plaintiffs have been injured and are entitled to the maximum statutory damages from

Universal pursuant to 17 U.S.C. § 504(c).

   54. Plaintiffs are further entitled to their costs in pursuing this action, including

reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505.

                                         COUNT 2:

COPYRIGHT INFRINGEMENT BY UNIVERSAL CITY STUDIOS PRODUCTIONS, LLLP

   55. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 to 54.

   56. The KCB is an original work of authorship and copyrightable as a sculptural work

under the laws of the United States and has been published in conformity with the Copyright



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Act and all laws government copyright.

   57. Plaintiffs never assigned, licensed or otherwise transferred the copyrights in the KCB

to Universal Productions.

   58. By the actions alleged above, Universal Productions has willfully infringed, directly

and/or vicariously, and will continue to willfully infringe the KCB, without permission, in

disregard for and with indifference to Plaintiffs’ rights, by creating Happy Death Day, its

derivate properties, and currently producing its sequel, Happy Death Day 2U, as well as all

merchandise and other goods and services for sale based on the Happy Death Day property

and franchise.

   59. Plaintiffs are entitled to an injunction restraining the continuous Copyright Act

violations of Universal Productions, its agents and employees, and all persons acting in

concert or participation with them.

   60. As a direct and proximate result of Universal Productions’ actions alleged above,

Plaintiffs have been injured and are entitled to the actual damages they suffered and to

profits derived by Universal Productions as a result of its infringing conduct pursuant to 17

U.S.C. § 504(b).

   61. Alternatively, as a direct and proximate result of Universal Productions’ actions

alleged above, Plaintiffs have been injured and are entitled to the maximum statutory

damages from Universal Productions pursuant to 17 U.S.C. § 504(c).

   62. Plaintiffs are further entitled to their costs in pursuing this action, including

reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505.

                                         COUNT 3:

        COPYRIGHT INFRINGEMENT BY BLUMHOUSE PRODUCTIONS, LLC

   63. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 to 62.



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   64. The KCB is an original work of authorship and copyrightable as a sculptural work

under the laws of the United States and has been published in conformity with the Copyright

Act and all laws government copyright.

   65. Plaintiffs never assigned, licensed or otherwise transferred the copyrights in the KCB

to Blumhouse.

   66. By the actions alleged above, Blumhouse has willfully infringed, directly and/or

vicariously, and will continue to willfully infringe the KCB, without permission, in disregard

for and with indifference to Plaintiffs’ rights, by creating Happy Death Day, its derivate

properties, and currently producing its sequel, Happy Death Day 2U, as well as all

merchandise and other goods and services for sale based on the Happy Death Day property

and franchise.

   67. Plaintiffs are entitled to an injunction restraining the continuous Copyright Act

violations of Blumhouse, its agents and employees, and all persons acting in concert or

participation with them.

   68. As a direct and proximate result of Blumhouse’s actions alleged above, Plaintiffs have

been injured and are entitled to the actual damages they suffered and to profits derived by

Blumhouse as a result of its infringing conduct pursuant to 17 U.S.C. § 504(b).

   69. Alternatively, as a direct and proximate result of Blumhouse’s actions alleged above,

Plaintiffs have been injured and are entitled to the maximum statutory damages from

Blumhouse pursuant to 17 U.S.C. § 504(c).

   70. Plaintiffs are further entitled to their costs in pursuing this action, including

reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505.




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                                         COUNT 4:

        COPYRIGHT INFRINGEMENT BY TREE FALLS IN THE WOODS, LLC

   71. Plaintiffs repeat and reallege the allegations contained in paragraphs 1 to 70.

   72. The KCB is an original work of authorship and copyrightable as a sculptural work

under the laws of the United States and has been published in conformity with the Copyright

Act and all laws government copyright.

   73. Plaintiffs never assigned, licensed or otherwise transferred the copyrights in the KCB

to Tree Falls in the Woods LLC.

   74. By the actions alleged above, Tree Falls in the Woods LLC has willfully infringed,

directly and/or vicariously, and will continue to willfully infringe the KCB, without

permission, in disregard for and with indifference to Plaintiffs’ rights, by creating Happy

Death Day, its derivate properties, and currently producing its sequel, Happy Death Day 2U,

as well as all merchandise and other goods and services for sale based on the Happy Death

Day property and franchise.

   75. Plaintiffs are entitled to an injunction restraining the continuous Copyright Act

violations of Tree Falls in the Woods LLC, its agents and employees, and all persons acting

in concert or participation with them.

   76. As a direct and proximate result of Tree Falls in the Woods LLC’s actions alleged

above, Plaintiffs have been injured and are entitled to the actual damages they suffered and

to profits derived by Tree Falls in the Woods LLC as a result of its infringing conduct

pursuant to 17 U.S.C. § 504(b).

   77. Alternatively, as a direct and proximate result of Tree Falls in the Woods LLC’s

actions alleged above, Plaintiffs have been injured and are entitled to the maximum statutory

damages from Tree Falls in the Woods LLC pursuant to 17 U.S.C. § 504(c).



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   78. Plaintiffs are further entitled to their costs in pursuing this action, including

reasonable attorneys’ fees, pursuant to 17 U.S.C. § 505.

                                          COUNT 5:

                        INJUNCTION TO SAFEGUARD PROCEEDS

                            EXPEDIATED HEARING REQUESTED

   79. Based on information and belief, Happy Death Day 2U is expected to generate

significant money when it is released in theaters across the United States on Wednesday,

February 13, 2019.

   80. Based on information and belief, the production budget for Happy Death Day 2U was

approximately $9 Million.

   81. Plaintiffs’ claim that their work has contributed substantially to the success of the

Happy Death Day and Happy Death Day 2U films.

   82. Plaintiffs request this Court enter an Order requiring the Defendants to hold and

safeguard the proceeds generated by Happy Death Day 2U in an interest-bearing account at

a federally insured banking institution until the rights of the Plaintiff have been determined

in this matter.

   83. Plaintiffs do recognize that there are certain qualified expenses that must be

reimbursed from the proceeds of the film, regardless of Plaintiffs’ right to share in the profits

of these films. Plaintiff would specifically request this Court Order the Defendants to account

for and hold all proceeds in an interest-bearing account after the film has generated $20

Million in revenue, which $20 Million is permitted to be used for qualified payments of the

production expenses, as well as qualified expenses of publicity, advertising, and distribution

of the films.




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   84. Plaintiff request this Court enter an Order restraining the Defendants from

distribution of any and all proceeds in excess of the $20 Million threshold and that

Defendants are ordered to account for and justify each and every expense that Defendant

claims to be part of the qualified and allowable expense reimbursements.

                                   DEMAND FOR RELIEF

       Plaintiffs pray for Judgment in their favor over and against each of these Defendants

for the following relief:

       A. For an Order enjoining the Defendants, their officers, agents, employees and those

           acting in concert with them, temporarily during the pendency of this action and

           permanently thereafter from

               (i) infringing or contributing to or participating in the infringement by others

               the copyright in King Cake Baby or acting in concert with, aiding and abetting

               others to infringe said copyright in any way; and

               (ii) copying, duplicating, selling, licensing, displaying, distributing, or

               otherwise using without authorization copies of King Cake Baby to which

               Plaintiffs are owners of exclusive rights under the respective copyrights or

               derivative works based thereon;

       B. That Defendants be required to account for and pay over to Plaintiffs the actual

           damages suffered by the Plaintiffs as a result of the infringement and any profits

           of the Defendants attributable to the infringement of Plaintiffs’ copyright or

           exclusive rights under copyright and to pay such damage to Plaintiffs as a Jury

           shall determine within the provisions of Copyright Act;

       C. That Defendants have spent less than $20 Million USD making both films and

           have or will recover more than $200 Million USD in gross revenue, that 50% of the



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          net revenue should be awarded to the Plaintiffs, and that Plaintiffs should receive

          a 50% interest in all future distributions.

       D. That Defendants be required to account for and pay over into a Court restricted

          interest bearing account any and all profits from the film Happy Death Day and

          Happy Death Day 2U; and that such account shall be established to safeguard

          profits due the Plaintiffs until such time as the profits attributable to the

          infringement of Plaintiffs’ copyright or exclusive rights under copyright are

          determines by the Jury in this matter.

       E. For an award of costs in this action as well as reasonable attorneys’ fees pursuant

          to 17 U.S.C. § 505;

       F. For an award of prejudgment and post-judgment interest according to applicable

          law; and

       G. For such other such other and further relief as this Court may deem just and

          proper.

       Dated: February 12, 2019.


                                           By: /s/ John A. Scialdone
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